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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


 In re:                                                    Chapter 11

 AMYRIS, INC., et al.,                                     Case No. 23-11131 (TMH)

                                 Debtors.                  (Jointly Administered)


                   ANDREW E. ROTH WITNESS AND EXHIBIT LIST
               FOR THE HEARING ON JANUARY 24, 2024 AT 10:00 A.M. ET

                                            WITNESSES

          Andrew E. Roth (“Roth”) does not designate any persons as a witness who may be

called at the hearing on January 24, 2024 at 10:00 A.M. ET (“Hearing”), but cross-designates

all witnesses designated by any other party in connection with the Hearing and reserve the right

to call any necessary rebuttal or impeachment witnesses

                                            DOCUMENTS

          Roth designates the following exhibits below that may be used at the Hearing:

 Exhibit                           Document Description                                    Docket
  No.                                                                                        No.
   1     Exhibits attached to the Declaration of Glenn F. Ostrager in Support of the        1153
         Objection of Andrew E. Roth, an Amyris Shareholder, to Confirmation of
         the Debtors’ Second Amended Joint Plan of Reorganization
   2     Exhibits attached to the Supplemental Declaration of Glenn F. Ostrager             1197
         in Support of the Objection of Andrew E. Roth, an Amyris Shareholder, to
         Confirmation of the Debtors’ Second/Third Amended Joint Plan of
         Reorganization

          Roth cross-designates all exhibits designated by any other party in connection with the

Hearing and reserve the right to use additional exhibits for rebuttal or impeachment purposes.

Roth also reserves the right to amend or supplement this witness and exhibit list prior to the

Hearing.
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Dated: January 23, 2024            Respectfully submitted,
       Wilmington, Delaware

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                                   Counsel for Objecting Party, Andrew E. Roth




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